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                 EXHIBIT B-130
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                          In THE SUPERIOR COURT OF Fulton COUNTY
                                                                                         FILED IN OFFICE
                                         STATE OF GEORGIA

                                                                                         ·I    JA~3
                                                                                         DEPUTY CLERK SUPERIORCOURT
                                                                                              FU!.TONCOUNTY.GA




 IN RE 2 May 2022 SPECIAL
                                                           CASE NO. 2022-EX-000024
 PURPOSE GRAND JURY




REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON RECORDING OF
                        JUDICIAL PROCEEDINGS.




Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of Electronic
Devices in Courtrooms and Recording of Judicial Proceedings, the undersigned hereby
requests permission to Record from YouTube in order to record images and/or sound during all
or portions of the proceedings in the above captioned case/calendar.

Consistent with the provisions of the rule, the undersigned desires to use the following
described VIRTUAL RECORDING OF YOUTUBE: eomr,utcr of ei,~ 3i~c. ii,eluding e teblet, e
Mtcboolc, ei,d e ler,tor,, 3mert r,l,oi,c, e ecll r,l,or,c or otl,cr o,irclc33 r,1,or,c,eei, ,ere ei,d otl,cr
eudio or oidco rceordii,g dcoiec3 er,~ 3imiler dcoicc3 .

The proceedings that the undersigned desires to record commence on January 24th, 2023 at
Noon EST. Subject to direction from the court regarding possible pooled coverage, the
undersigned wishes to u3c tl,i3 dcoiec ii, tl,c courtroom or, RECORD VIRTUALLY ON January
24th, 2023

The personnel who will be responsible for the use of this recording device are: Law&CrimeTrial
Network.
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The undersigned hereby certifies that the device to be used and the locations and operation of
such device will be in conformity with Rule 22 and any guidelines issued by the court.


                                                                                            2

For questions or concerns email pio@fultoncountyga.gov

Rule 22 (Rev. 04/01/18)




*Noticeto Requesting
                   Agencyor Individual*

In order to be deemed timely by the Court, this request must be submitted 24 busjness
lli2Yrs.prior to the proceeding for which it is requested due to mandatory notice
requirements.




(News Agency/Media Outlet/LawEirrn/lndjyjdua(Representat;ve)Law&CrjmeTrial
Network, LaceyLecroy, Assignment
                              Manager

(EmailAddress)
             Lacey@LawandCrjme.com

(PhoneNumber)718-812-7813

order approving/disapproving request:

               The request is:

                    (     Approved    J
                          Disapproved


               The requesting agency:

                          Shall be pool for its media


                          Shall not be pool for its media
     Case 1:23-cv-03721-SCJ Document 1-141 Filed 08/21/23 Page 4 of 4




Under no circumstances is this rule to be construed as permission for filming, recording, or
photography in any other area of the courthouse or courtroom other than that for which
permission is given. The undersigned understands and acknowledges that a violation of Rule 22
and any guidelines issued by the court may be grounds for removal or exclusion from the
courtroom and a willful violation may subject the undersigned to penalties for contempt of court.




So ORDERED this 20th day of_J_a_nu_a_ry
                                 __________                                2023




                           Judge of Superior Court of Fulton County




                                                                                                2

For questions or concerns email pio@fultoncountyga.gov

Rule 22 (Rev. 04/01/18)




                                     Atlanta Judicial Circuit
